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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,

        Plaintiffs,

 v.                                     Civil Action No. 4:20-cv-00957-SDJ

 GOOGLE LLC,

        Defendant.




                               EXHIBIT B
         PLAINTIFF STATES’ OPENING BRIEF TO THE SPECIAL MASTER
                     FOR THE MARCH 7, 2024 HEARING
                                  Case 4:20-cv-00957-SDJ
                                          Case 3:21-md-02981-JD
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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IN RE GOOGLE PLAY STORE                               MDL Case No. 21-md-02981-JD
                                         ANTITRUST LITIGATION                                  Member Case No. 20-cv-05671-JD
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                                   9                                                           FINAL JURY INSTRUCTIONS FOR
                                                                                               EPIC TRIAL
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Northern District of California
 United States District Court




                                  13           The Court will give these final instructions to the jury in the Epic trial, Case No. 20-cv-

                                  14   5671, on the morning of December 11, 2023, before the parties’ closing arguments. They are

                                  15   based on the parties’ proposed instructions, Dkt. Nos. 806, 833, the discussion at the jury charge

                                  16   conference on December 1, 2023, and the Court’s practices.

                                  17           For Google’s request for a judgment on its breach of contract counterclaim, Dkt. No. 833

                                  18   at 2 n.2, the Court will decide Epic’s illegality defense after the jury returns its verdict, and will

                                  19   treat the parties’ stipulated facts, id. at 1-2, as proved.

                                  20           For Instruction Nos. 23 (Willful Acquisition or Maintenance of Monopoly Power Through

                                  21   Anticompetitive Acts), 29 (Evidence of Competitive Benefits), and 38 (Business Justification

                                  22   Defense), the Court will give the additional language requested by Google that “to qualify as

                                  23   ‘substantially less restrictive,’ an alternative means must be virtually as effective in serving the

                                  24   defendant’s procompetitive purpose without significantly increased cost.” Epic Games, Inc. v.

                                  25   Apple, Inc., 67 F.4th 946, 990 (9th Cir. 2023) (cleaned up).

                                  26           Epic’s request to add a balancing step at the end of Instruction No. 38 (Business

                                  27   Justification Defense) is denied. The Court will give the instruction consistent with the

                                  28   formulation in the ABA Model Civil Antitrust Instruction 2E.11. The Court will add a reference
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                                   1                                        INSTRUCTION NO. 13

                                   2                                      PERMISSIVE INFERENCE

                                   3           You have seen evidence that Google Chat communications were deleted with the intent to

                                   4    prevent their use in litigation. You may infer that the deleted Chat messages contained evidence

                                   5    that would have been unfavorable to Google in this case.

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Northern District of California
 United States District Court




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